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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


Centro de Trabajadores Unidos, et al.,

           Plaintiffs,

             v.

Scott Bessent, in his official capacity as       Civil Action No. 25-677 (DLF)
Secretary of the Treasury, et al.,

           Defendants.


  BRIEF OF 105 MEMBERS OF CONGRESS AS AMICI CURIAE IN SUPPORT OF
         PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


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                               INTERESTS OF AMICI CURIAE1

       Proposed Amici are 105 Members of Congress.2 These Members are well-acquainted with

taxpayer confidentiality laws and the establishment of Individual Tax Identification Numbers

(ITINs) as an integral aspect of the U.S. tax code, as well as with the statutory privacy and

legislative framework Congress has enacted to advance the ability of those without Social Security

Numbers (SSNs) to pay taxes. As such, Amici have an interest in ensuring that the carefully

designed statutory privacy protections that apply to taxpayer information are strictly adhered to

and consistent with statutory intent.

       Congress has chosen to limit any intrusions regarding the privacy of taxpayer information

to tightly defined exceptions for specific purposes, making legislation amending 26 U.S.C. § 6103

the sole means for creating new exceptions. Every person or business with federally taxable

income must pay taxes under federal law, yet Congress relies upon voluntary compliance across

the tax code and has reasoned that millions of responsible taxpayers would be less likely to provide

their most personal data to the Internal Revenue Service (IRS), including their identity or address,

if that information would be made available for immigration enforcement. For that reason, despite

having expanded exceptions to the privacy law in a number of specific circumstances, and having

considered and rejected immigration-related amendments specifically, Congress has repeatedly

chosen not to enact such an exception for immigration enforcement but rather to address

immigration enforcement with separate policies and steps. This choice by Congress puts an

administrative decision to use taxpayer information for immigration enforcement goals beyond the


1
  Pursuant to Fed. R. App. P. 29(a)(4)(E), no party’s counsel authored this brief, in whole or in
part. No party or party’s counsel contributed money that was intended to fund preparing or
submitting this brief. No person other than amici curiae or their counsel contributed money that
was intended to fund preparing or submitting this brief.
2
  A full list of amici appears in the Appendix.

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purview of the executive.

       Amici are very concerned that the Administration is seeking to broaden this tightly

regulated information-sharing regime, whether by Memorandum of Understanding (MOU)

between agencies or otherwise, without seeking Congressional approval first, and that this would

both directly contravene Congress’s well-considered statutory design of focusing IRS resources

on collecting federal tax revenues and constitute an intrusion by the executive branch upon powers

reserved by the Constitution for Congress. Amici believe the Administration’s actions here could

profoundly alter expectations of privacy for taxpayers and impact revenue-raising and budgetary

projections for the federal government as a whole.

                   INTRODUCTION AND SUMMARY OF ARGUMENT

       After it became clear to Congress that misuse of the tax system posed a threat under the

Nixon Administration, in 1976 Congress enacted the Tax Reform Act. Pub. L. No. 94-455, 90 Stat.

1520 (1976). 26 U.S.C. § 6103 and related provisions, were enacted to make clear that taxpayer

information would be, as a rule, kept confidential absent specific statutory exceptions. Pursuant to

this statutory framework, the IRS has consistently maintained, including in both testimony to

Congress and in representations to the public, that it does not share taxpayer information for

immigration enforcement, or for any purpose not specifically authorized by § 6103.

       For decades, Congress and the IRS have created regulatory and taxpayer compliance

systems, including clinics around the country, to encourage immigrants and those considered

“resident or non-resident aliens” under the tax code to pay taxes in accordance with federal law as

required by 26 U.S.C. §§ 7701(b)(1)(A), (b)(3). The IRS issues Individual Taxpayer Identification

Numbers (ITINs) to individuals who are required to have a taxpayer identification number but who

do not have and are not eligible to obtain SSNs. ITINs are issued regardless of immigration status

to ensure IRS’s receipt of tax revenue from all those who have the responsibility to pay taxes under
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the Code. Staff of Joint Comm. on Tax’n 109th Cong., Present Law and Background Relating to

Tax Issues Associated with Immigration Reform 4 (July 17, 2006) (“Joint Committee Report”). In

exchange for voluntary tax compliance, the government has publicly and frequently assured

taxpayers that their information would be kept private, including from use for immigration

enforcement purposes. Acting in reliance on this understanding, undocumented taxpayers have

voluntarily paid billions of dollars in federal, state, and local taxes every year, while contributing

to public benefits programs that they are excluded from, such as Social Security.

       In seeking to implement a novel and unprecedented MOU between the IRS and U.S.

Immigration and Customs Enforcement (ICE), the Administration argues that, despite Congress’s

carefully constructed statutory framework, its own interpretation of § 6103(i)(2) permits a far

broader sharing of taxpayer data, including potentially the sharing of data in large batches, than

has ever before occurred or even been contemplated by Congress in enacting § 6103(i)(2) or any

other provision of law.

       This would be violative of Congress’s carefully constructed legislative framework and is

incompatible with congressional legislation in three significant ways: 1) exceptions to § 6103’s

mandated privacy have been specifically delineated by Congress and creating new exceptions is

the sole prerogative of Congress as it balances public interests; 2) loosening privacy protections,

as the Administration’s proposal seeks to do, would be antithetical to the underlying statutory and

regulatory purpose of the privacy law, as well as the ITIN program and its conformance to the

IRS’s mission, which is explicitly and singly to enhance tax collection for our national treasury;

and 3) although Congress has amended § 6103 many times with bi-partisan majorities and on a

number of occasions Congress has considered amendments that would broaden § 6103’s




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exceptions in ways that the Administration now seeks, after careful consideration Congress has

elected not to pass such legislation.

                                           ARGUMENT

I.       BOTH CONGRESS AND THE IRS CONSISTENTLY HAVE VIEWED THE
         CONFIDENTIALITY OF TAX INFORMATION AS SACROSANCT

         Beginning with the Tax Reform Act of 1976, Congress has maintained strict limitations on

the disclosure of taxpayer information under 26 U.S.C. § 6103. The law establishes that tax returns

and return information “shall be confidential,” subject only to limited exceptions specifically

authorized by statute, and the legislative history underscores that any exceptions should be read

narrowly consistent with this purpose, given the need to protect public trust in the mechanisms for

raising revenues on behalf of the government via a system relying on self-compliance. Further, the

structure and legislative history of § 6103 make clear that only Congress can create exceptions

under the law.

         In passing the Act, concerns about balancing privacy with tax compliance were carefully

considered. In the Report of the Senate Committee on Finance, the Committee noted:

         Questions have been raised and substantial controversy created as to whether the
         present extent of actual and potential disclosure of return and return information to
         other Federal and State agencies for nontax purposes breaches a reasonable
         expectation of privacy on the part of the American citizen with respect to such
         information. This, in turn, has raised the question of whether the public’s reaction
         to this possible abuse of privacy would seriously impair the effectiveness of our
         country’s very successful voluntary assessment system which is the mainstay of the
         Federal tax system. In a more general sense, questions have been raised with respect
         to whether tax returns and tax information should be used for any purposes other
         than tax administration.

S. Rep. No. 94-938, at 317 (1976).3 Congress’s conclusion regarding this “substantial controversy”

was to prioritize taxpayer privacy: “The committee decided that the information that the American


3
    Available here: https://www.finance.senate.gov/imo/media/doc/tax6.pdf.

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citizen is compelled by our tax laws to disclose to the Internal Revenue Service was entitled to

essentially the same degree of privacy as those private papers maintained in his home.” Id. at 328.

       Any disclosure exceptions to confidentiality were required to be carefully delineated and

specifically authorized by statute, and, critically, not created by the Executive branch.

       Although present law describes income tax returns as “public records”, open to
       inspections under regulations approved by the President, or under Presidential
       order, the committee felt that returns and return information should generally be
       treated as confidential and not subject to disclosure except in those limited
       situations delineated in the newly amended section 6103 where the committee
       decided that disclosure was warranted.

Id. at 318. Congress’s reasoning for this is stated clearly:

       The committee has reviewed each of the areas in which returns and return
       information are now subject to disclosure. With respect to each of these areas, the
       committee has tried to balance the particular office or agency’s need for the
       information involved with the citizen’s right to privacy and the related impact of
       the disclosure upon the continuation of compliance with our country’s voluntary
       assessment system.

Id.

       The approach in the 1976 Act was subsequently summarized as “eliminat[ing] Executive

discretion” over privacy determinations and disclosure categories in a Report to Congress by the

Office of Tax Policy Department of the Treasury in 2000:

       By the mid-1970’s, there was increased Congressional and public concern about
       the widespread use of tax information by government agencies for purposes
       unrelated to tax administration. This concern culminated with a total revision of
       section 6103 in the Tax Reform Act of 1976. There, Congress eliminated Executive
       discretion regarding what information could be disclosed to which Federal and state
       agencies and established a new statutory scheme under which tax information was
       confidential and not subject to disclosure except to the extent explicitly provided by
       the Code. Although there have been many amendments to the law since that time,
       the basic statutory scheme established in 1976 remains in place today.

U.S. Dep’t of the Treasury, Off. of Tax Pol’y, Report to the Congress on Scope and Use of

Taxpayer Confidentiality and Disclosure Provisions, Vol. I: Study of General Provisions 3 (Oct.



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2000) (emphasis added); see also Internal Revenue Serv., Off. of Chief Couns., Disclosure

Litigation Reference Book 1-11 (Apr. 2000) (describing the legislative debate over the Tax Reform

Act and concluding that “[i]n short, Congress undertook direct responsibility for determining the

types and manner of permissible disclosures.”).

       Consistent with this framework, Congress has sought to prevent unauthorized disclosures

of tax information, including by passing numerous statutes that include criminal penalties for

disclosure. See, e.g., 26 U.S.C. § 7213(a)(1) (U.S. officer or employee or contractor); 26 U.S.C.

§ 7213(a)(2) (state employees); 26 U.S.C. § 7213(a)(3) (for publication); 26 U.S.C. § 7213(a)(4)

(unlawful solicitation of tax returns); and 26 U.S.C. § 7216 (return preparers).

       The highly restricted nature of taxpayer information has been repeatedly reenforced by the

IRS in instructions to its employees concerning their personal liability for unauthorized disclosure.

For example, the manual provides that “Every IRS employee, contractor and stakeholder who has

access to Federal Tax Information (FTI) . . . is responsible to protect it from unauthorized access,

use or disclosure.” Internal Revenue Servs., Internal Revenue Manual, § 11.3.1.1.1 (Aug. 3, 2023)

(“IRS Manual”). The Manual continues:

        IRC 6103(a) prohibits the disclosure of returns and return information unless
       authorized by Title 26. Although a disclosure may be authorized by statute, the
       person making the disclosure must also have the authority and follow the proper
       procedures, or the disclosure is not authorized. IRS employees are required, under
       IRC 6103, to ensure that returns and return information are protected from
       unauthorized disclosure and access. The IRS employee making the disclosure is
       responsible for ensuring the authority of the recipient to receive it. . . . IRS
       employees are personally responsible for verifying the identity and authority of the
       recipient to receive tax data prior to making any disclosure – failure to establish the
       recipient’s authority may be negligent.

Id. at § 11.3.1.4 (Aug. 13, 2018).

       This promise of confidentiality, and protection it provides against the weaponization of

taxpayer information, has also been repeatedly reiterated by the IRS to the public. The IRS

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Taxpayer Bill of Rights, codified by the Protecting Americans from Tax Hikes Act of 2015 (PATH

Act) § 401, as part of the Consolidated Appropriations Act of 2016, Pub. L. No. 114-113, div. Q,

129 Stat. 2242, 3117 (2015), makes a specific promise to taxpayers of the right to confidentiality.

That promise is repeated numerous times on IRS webpages and outreach materials: “Taxpayers

have the right to expect that any information they provide to the IRS will not be disclosed unless

authorized by the taxpayer or by law. . . . In general, the IRS may not disclose your tax information

to third parties unless you give us permission.” Taxpayer Bill of Rights 8: The Right to

Confidentiality, Internal Revenue Servs. (Jan. 23, 2025), https://www.irs.gov/newsroom/taxpayer-

bill-of-rights-8.

        Thus, assurances of confidentiality are embedded in Congress’s legal and statutory

framework, such as § 6103 and OMB guidelines, the IRS’s internal training and operational

documents, and in repeated representations the IRS makes to the public.

II.     INDIVIDUAL TAX IDENTIFICATION NUMBERS WERE CREATED SO THAT
        IMMIGRANTS AND OTHERS COULD PAY TAXES OWED TO THE
        GOVERNMENT

        In July 1996, the IRS (under existing authority in the tax code) launched the ITIN program

administratively. The IRS created ITINs (9-digit numbers provided to people who needed a method

to file U.S. taxes) solely for tax administration purposes. It decided on this mechanism because it

would enable the Service to identify and track the reporting and payment of tax obligations by

individuals who otherwise lacked Taxpayer Identification Numbers (TINs) or SSNs.

        The final rule, Taxpayer Identifying Numbers (TINs), 61 Fed. Reg. 26,788 (May 29, 1996)

(“TINs Regulation”), explained that the ITIN was designed to help those who “need a TIN but

cannot qualify for a social security number,” thereby creating a mechanism for those individuals

to comply with tax laws without fearing deportation. Thus, by design, the IRS created ITINs to

include undocumented immigrants, availing them of a method to pay taxes alongside a specific
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and public promise that “no inference” with regard to immigration status would result from this

use. Id.

           Federal funding has also for decades supported outreach and tax clinics for ITIN filers, as

well as payment portals, to help them and others holding ITINs pay their taxes. Volunteer Income

Tax Assistance (VITA) sites with ITIN services, Internal Revenue Servs. (Jan. 16, 2025),

https://www.irs.gov/tin/itin/volunteer-income-tax-assistance-vita-sites-with-itin-services.

           The choice made by Congress to maintain the mission and purpose of the IRS has resulted

in substantial income for the U.S. Treasury, totaling billions of dollars annually. See Tax Payments

by Undocumented Immigrants, Inst. on Tax’n & Econ. Pol’y (July 30, 2024),

https://itep.org/undocumented-immigrants-taxes-2024/. For 2022, some of those key data points

include that:

           More than a third of the tax dollars paid by undocumented immigrants go toward
           payroll taxes dedicated to funding programs that these workers are barred from
           accessing. Undocumented immigrants paid $25.7 billion in Social Security taxes,
           $6.4 billion in Medicare taxes, and $1.8 billion in unemployment insurance taxes
           in 2022.

Id. Another data point is that “undocumented immigrants paid $19.5 billion in federal income taxes

alone in 2022, and $96.7 billion total in U.S. taxes including $59.4 billion in payments to the

federal government and $37.3 billion in payments to states and localities.” Id.

           The Yale “Budget Lab” recently estimated the costs of effects on compliance with tax

obligations for just undocumented workers, finding that “unauthorized immigrants paid $66 billion

in federal income & payroll taxes in 2023, about 2/3 of which was payroll taxes.” The Potential

Impact of IRS-ICE Data Sharing on Tax Compliance, The Budget Lab (Apr. 8, 2025),

https://budgetlab.yale.edu/research/potential-impact-irs-ice-data-sharing-tax-compliance

(“Budget Lab”). In the event of an IRS-ICE agreement, there could be a “0.5% loss in federal



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income and payroll tax revenue on average, or $25 billion in 2026 (central range of $12-39 billion)

and $313 billion ($147-479 billion) over 2026-35.” 4 Id.

       In creating the ITIN program, the IRS had “extensive discussions” with both the

Immigration and Naturalization Service (INS) (the predecessor to ICE) and the Social Security

Administration, ultimately concluding that the IRS itself would issue ITINs (rather than INS) to

ensure the number was used solely for tax administration. TINs Regulation (noting that the Social

Security Administration, INS, and State Department “concur that the IRS is the appropriate

initiator of a numbering system dedicated solely for tax purposes”).

       The agency assured Congress and the public that its focus was collecting revenue rather

than policing immigration: “Having the IRS as the sole issuer of ITINs will facilitate the general

public's acceptance of the fact that the assignment of an ITIN creates no inference regarding the

immigration status of an alien individual or the right of that individual to be legally employed in

the United States.” Id. In 2017, during the first Trump Administration, following changes discussed

below to related provisions under the PATH Act, IRS officials noted publicly that: “‘The IRS has

strong processes in place to protect the confidentiality of taxpayer information, and this includes

information related to tax returns filed using ITINs. . . . There is no authorization under this

provision [of the PATH Act] to share tax data with ICE.’” Maria Sacchetti, Undocumented and

paying taxes, they seek a foothold in the American Dream, Wash. Post (Mar. 11, 2017),

https://www.washingtonpost.com/local/social-issues/undocumented-and-paying-taxes-they-seek-




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 The researchers note that “there is considerable uncertainty around this estimate as it is hard to
gauge how taxpayer behavior will adjust and the extent to which adjustment will be feasible.”
Budget Lab.



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a-foothold-in-the-american-dream/2017/03/11/bc6a8760-0436-11e7-ad5b-

d22680e18d10_story.html.

        In 2015, Congress directly addressed ITINs as part of its PATH Act. ITIN-related

provisions included: (1) expiration and renewal of ITINs, meaning that ITINs not used on a tax

return for 3 consecutive years would expire and all ITINs issued before 2013 would also expire on

a staggered schedule, requiring taxpayers to renew them; and 2) documentation rules were

codified, which is something the IRS had already administratively imposed in 2012. Pub. L. No.

114-113, div. Q, 129 Stat. 2242, 3078 (2015). Most notably, what the law did not do was enable

immigration enforcement by way of ITIN disclosure in any fashion.

        This was not by accident. In response to Congressional debate over whether to alter the tax

system to aid the INS and immigration enforcement, in 2004 Commissioner Mark Everson, who

was appointed by President George W. Bush and had previously served as deputy commissioner

of the Immigration and Naturalization Service, warned about a “chilling effect” if such disclosure

was allowed. See Social Security Number and Individual Taxpayer Identification Number

Mismatches and Misuse: Hearing Before the Subcomm. on Oversight & the Subcomm. on Soc. Sec.

of the H. Comm. on Ways & Means, 108th Cong. 12 (Mar. 10, 2004) (“SSN and ITIN Hearing”):

        We must also weigh the potential benefits of any changes to the ITIN program
        against the cost of those changes to the tax system, including both direct economic
        costs and the indirect costs that arise from discouraging participation in the tax
        system. As an example, the Service believes at this time that any sharing of
        confidential taxpayer information, directly or indirectly, with immigration
        authorities would have a chilling effect on efforts to bring ITIN holders, and
        potential ITIN holders, into the U.S. tax system. Such an initiative would deprive
        the Federal Government of tax revenue by discouraging illegal workers in the U.S.
        from participating in the tax system, when the Code requires them to pay tax on
        their U.S. earnings.

Id. at 12.




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       Thus, it has long been Congress’s conclusion that if these taxpayers were to fear that their

personal information would be used for immigration enforcement, many would stop filing taxes

and this would result in billions of dollars in lost revenue, not to mention reducing funding for

Social Security and Medicare. As Everson states, the use of taxpayer information for immigration

enforcement has been excluded by both Congress and IRS officials, while privacy for ITIN holders

has been viewed by Congress as a way to ensure that IRS resources are focused on tax revenues.

Id.

III.    UNDER § 6103, INFORMATION SHARING WITH ICE HAS NEVER BEEN
        AUTHORIZED; CONGRESS HAS ONLY PERMITTED INFORMATION
        SHARING EXPRESSLY AUTHORIZED BY A STATUTORY EXCEPTION, AND
        CONGRESS CONSIDERED AND REJECTED THE EXPANSION THAT THE
        ADMINISTRATION NOW SEEKS

       Under 26 U.S.C. § 6103, all “returns and return information” are confidential and cannot

be disclosed by the IRS except in narrowly defined circumstances. Congress has built into the

statute a number of very specific exceptions, including, for example, sharing with state tax

agencies, child support enforcement, or, later, for healthcare eligibility checks. Each of these

exceptions are included with specificity in the body of the statute but notably there is no general

exception allowing disclosure for immigration enforcement, whether civil or criminal.

       Absent a statutory exception, § 6103 does not permit the sharing of information with ICE.

The need for a specific congressionally authorized exception is paramount. Unless a law explicitly

overrides § 6103 by name, even a statute with a “notwithstanding any other law” clause does not

override the tax code’s confidentiality rules. In his 2004 testimony, Commissioner Everson

reiterated this in explaining the longstanding purpose of the statutory scheme:

       First, there are undoubtedly points of conflict and points of tension between our tax
       laws and our immigration laws. What may be beneficial from the perspective of
       immigration law or policy, may not be beneficial from the perspective of tax law
       and tax administration. Second, our tax laws make no distinction, either in the tax
       payment and reporting obligations of taxpayers or the tax collection and tax
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       administration obligations of the IRS, between immigrants who are legally
       employed in this country, and those who are not. The Service must necessarily
       continue to fulfill its obligations to administer the tax laws to taxpayers who are not
       legally employed in our country, but who owe taxes because they, in fact, earned
       income here. Third, the Service must, and will continue to solicit the participation
       of such taxpayers in our system, as it does with other taxpayer groups. …The IRS
       desires to facilitate these individuals’ entry and continuing participation in our tax
       system, and to lessening impediments to their participation. Fourth, the Service
       continues to be bound and guided in its sharing of taxpayer information by the
       provisions of Internal Revenue Code section 6103. The provisions of section 6103
       protect the confidentiality of taxpayer information, and broadly restrict the sharing
       of taxpayer information by the IRS with employers or with other government
       agencies, except under narrow circumstances. I would urge Congress to carefully
       balance the competing public interest at stake before deciding to make any changes
       to this provision of the tax law.

SSN and ITIN Hearing at 10.

       To be sure, Congress has amended § 6103 when it felt that circumstances necessitated

tightly bound disclosures. In the wake of 9/11, Congress passed the Victims of Terrorism Tax Relief

Act of 2001, Pub. L. No. 107-134, § 201, 115 Stat. 2427, 2443 (2001), amending the tax code’s

confidentiality rules to aid law enforcement against terrorism by adding § 6103(b)(11) and defining

“terrorist incident, threat, or activity.” This allowed the IRS to share relevant tax information with

federal law enforcement for terrorism cases.

       Another specific exception was later added in response to the Patient Protection and

Affordable Care Act, Pub. L. No. 111-148, §1411, 124 Stat. 119, 225 (2010). This exception to tax

confidentiality appears in 26 U.S.C. § 6103(l)(21), authorizing the IRS to disclose certain batched

tax return information to the Department of Health and Human Services for determining eligibility

for health insurance affordability programs (e.g., income verification for premium tax credits).

Similar amendments for the batch sharing of information to facilitate access to benefits were made

by Congress in the Fostering Undergraduate Talent by Unlocking Resources for Education

(FUTURE) Act, Pub. L. No. 116-91, § 3, 133 Stat. 1188, 1189 (2019), which modified § 6103,



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creating § 6103(l)(13) in order to permit the IRS to disclose tax return information directly to

authorized Education Department officials determining eligibility and the amount of federal

student financial aid.

       However, even when another enactment by Congress would facially require information

collection or sharing, the presumption is that a specific exception must be enacted by Congress to

§ 6103 in order to override its prerogatives to prevent data sharing, including names, address, and

information on immigration status. This has even been held to be true when “required” by a law

under a specific statutory requirement:

       Consistent with tenets of statutory construction, it has been a long-standing
       interpretation of the IRS that, unless a provision of law outside the Code explicitly
       overrides section 6103 by specifically identifying it, a statute of general application
       (i.e., “notwithstanding any other law”) does not override the restrictions of section
       6103 on the disclosure of returns and return information. The Illegal Immigration
       Reform and Immigration Responsibility Act of 1996 requires the Commissioner of
       Social Security to report to the Attorney General the names and addresses of aliens
       who are not eligible for employment but who had Social Security earnings. The
       provision does not specifically override section 6103. . . . The Illegal Immigration
       Reform and Immigrant Responsibility Act of 1996 also provides that information
       concerning illegal alien status should be provided to the Immigration and
       Naturalization Service notwithstanding any other law. The Treasury Inspector
       General for Tax Administration has noted that the IRS is not providing information
       about a taxpayer’s illegal alien status that the IRS may have obtained as a result of
       an application [for] ITIN or otherwise because the provisions does not [sic]
       specifically override section 6103.

Joint Committee Report at 11–12 (internal citations omitted).

       Simply put, Congress has never passed a specific statutory exception for the IRS to share

data related to immigration enforcement. The lack of such an exception has severely constricted

the IRS from sharing information regarding ITIN immigrant taxpayers. As IRS officials wrote in

response to the Treasury Inspector General’s Office’s annual report to Congress in 2003:

       The Service has no legal authority with respect to the enforcement of immigration
       and social security administration laws. Moreover, the Service is broadly restricted
       under Section 6103 of the Internal Revenue Code from sharing taxpayer

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       information, including the possibility that the applicant is not working legally in
       the United States, with third parties, including other executive agencies, except in
       very limited circumstances.

Gordon C. Milbourn, III, U.S. Dept. of Treasury, Treasury Inspector Gen. for Tax Admin., The

Internal Revenue Service’s Individual Taxpayer Identification Number Creates Significant

Challenges for Tax Administration, App’x X (Jan. 8, 2004).

   Despite this, the Administration now seeks to interpret Congressionally-passed legislation in §

6103(i)(2)—providing limited authority for certain types of tax information to be made available

under tightly controlled circumstances for non-tax criminal investigations—as permitting broad

data-sharing within the Administration. The Administration’s reading of § 6103(i)(2) is incorrect.

Section 6103(i)(2) does not permit the access to taxpayer information that the Administration now

seeks. Leaving aside the notable and sudden departures of a raft of knowledgeable IRS officials in

protest of the Administration’s interpretation, there are at least three fundamental flaws in the

Administration’s analysis. See Nathan Layne & Kanishka Singh, Top IRS officials join chief in

quitting   following   immigration    data   deal,   Reuters    (Apr.   9,   2025,    12:06   PM),

https://www.reuters.com/world/us/us-irs-chief-quit-over-deal-share-data-with-immigration-

officials-report-says-2025-04-08/.

       First, as discussed above, any exception to § 6103 must be clear and explicitly stated within

the body of the statute. More specifically as to § 6103(i)(2), it does not authorize disclosure or

inspection of taxpayer information for the purposes of providing a taxpayer’s address, which is

precisely what the MOU seeks. Section 6103(i)(2) requires an address to make a request, a point

enforced by the IRS Manual § 11.3.28.4(5), which makes clear that “[r]equests for addresses only

are invalid because IRC 6103(i)(2) requires that the requester provide an address.” IRS Manual

§ 11.3.28.4(5) (Apr. 17, 2025). This is because the statutory requirement would be meaningless if



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any address will suffice rather than the address and name that together would allow the IRS to

match the request with internal records. Indeed, this requirement has existed ever since the current

version of § 6103(i)(2) was passed into law more than forty years ago in 1982, and it is significant

that until now it has never even been argued that it could be applied in the manner that the MOU

suggests. See Tax Equity and Fiscal Responsibility Act of 1982, Pub. L. No. 97-248, § 356 (1982).

       By contrast, when Congress has sought to specifically authorize disclosure of an address,

it has done so, such as in § 6103(i)(5), which expressly authorizes access to location information

contained in tax records when the individual at issue is a fugitive from justice and a court

specifically authorizes the disclosure. Similarly, multiple provisions under § 6103(m) duly

authorize sharing address information with other federal agencies, or even with the media, for

specified reasons. These include §§ 6103: (m)(1) (release to media for notifications of tax refunds

owed by IRS); (2)(A) (address disclosure to a federal agency to collect federal claims); (3) (mailing

address disclosure to agency to inform individuals of occupational exposures); (4)(A) (mailing

address disclosure to Department of Education regarding student loan defaulters); (5)(A) (address

disclosure to Department of Health and Human Services regarding student loan defaulters); (6)(A)

(address disclosure to blood donor service to locate individuals of health risks); and (7) (address

disclosure to the Social Security Administration to mail statements). Notably, there is no similar

authorization in § 6103(i)(2).

       In conclusion, Congress has never authorized any textual exception to § 6103 that is

remotely close to the use being contemplated in the Memorandum of Understanding. There is no

question that Congress knows how to craft legal exceptions, including for batch data sharing, as it

has done so for student loans and health benefits by the IRS. However, it has not done so here.

Indeed, the number of files requested (whether 700,000 or 7 million) raises the specter of an end-



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run or pretextual approach to the statutory requirements, particularly given the history of clear

statements of law and policy that immigration enforcement is not a permissible purpose under

§ 6103. Simply put, while § 6103 includes exceptions to the privacy of tax return information in

certain circumstances, none come close to permitting batch sharing or the sharing of location

information in these circumstances, nor specifically for the purpose of immigration enforcement.

        Second, to accept the government’s position, one must conclude that Congress intended to

abrogate the underlying purpose for establishing the ITIN program in the first place, which was to

create the ability for all those subject to federal tax laws to comply with their tax obligations under

the law while being told that their information would not be shared by the IRS in ways that could

impact their immigration status. Thus, to support the Administration’s position, the court must

assume that Congress and the IRS intentionally misrepresented the state of the law to millions of

taxpayers for decades in order to collect their revenues while secretly knowing that there was a

hidden mechanism through which DHS could collect their tax data without informing them of that

possibility.

        Third, the legislative record of attempts to amend § 6103 to permit information-sharing

with DHS makes clear that the consistent choice of Congress has been to allow the IRS to fulfill

its mission to collect taxes by explicitly choosing taxpayer privacy over the exigencies of

immigration enforcement goals. Indeed, the record, as discussed below, shows that Congress

repeatedly considered possible amendments to allow information-sharing for immigration

enforcement under limited circumstances but rejected them. Such tensions among federal policy

goals have been extensively debated, yet Congress to this day has chosen not to authorize the

sharing of confidential taxpayer information with immigration authorities. Instead, the legislature

considered ways that immigration enforcement would be funded and pursued by other means



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available to the federal government, while the IRS was specifically empowered to ensure that

everyone with federally taxable income could pay taxes without fear.

       Certainly, this Administration was not the first to consider the prospect currently before the

Court of easing tax privacy in order to aid immigration enforcement. Bills to allow the IRS to share

information about undocumented taxpayers with DHS or ICE have on several occasions died in

committee hearings or as draft amendments. For instance, The Comprehensive Immigration

Reform Act of 2006 included several tax-related provisions. Comprehensive Immigration Reform

Act of 2006, S. 2611, 109th Cong. § 301 (2006) (“S. 2611”). It proposed to amend 26 U.S.C.

§ 6103 to allow limited information sharing with the Department of Homeland Security. Id. The

Joint Committee on Taxation questioned “whether the potential benefits to Department of

Homeland Security workplace enforcement outweigh the adverse effects on taxpayer compliance

and privacy that would result from the disclosures of return information.” Joint Committee Report

at 1. While S.2611 passed the Senate, it failed in the House.

       An amendment to the proposed Bill to Amend the Immigration and Nationality Act to

Provide for Comprehensive Reform and for Other Purposes, S. 2454, 109th Cong. (2006) proposed

by Sen. Ben Nelson sought to amend § 6103(i) by adding the following paragraph:

       (9) Disclosure of information relating to violations of federal immigration law: (A)
       Upon receipt by the Secretary of the Treasury of a written request, by the Secretary
       of Homeland Security or Commissioner of Social Security, the Secretary of the
       Treasury shall disclose return information to officers and employees of the
       Department of Homeland Security and the Social Security Administration who are
       personally and directly engaged in: (i) preparation for any judicial or administrative
       civil or criminal enforcement proceeding against an alien under the Immigration
       and Nationality Act (8 U.S.C. 1101 et seq.), other than the adjudication of any
       application for a change in immigration status or other benefit by such alien, or (ii)
       preparation for a civil or criminal enforcement proceeding against a citizen or
       national of the United States under section 274, 274A, or 274C of the Immigration
       and Nationality Act (8 U.S.C. 1324, 1324a, or 1324c), or (iii) any investigation
       which may result in the proceedings enumerated in clauses (i) and (ii) above.



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Amendment to S. 2454, S. Amdt. 3267 to S. Amdt. 3192, 109th Cong. (2006) (amendment of Sen.

Ben Nelson). No action was taken on that amendment.

       As part of the debate over S. 2611, an amendment proposed by Sen. Chuck Grassley took

a narrower approach and passed the Senate on May 23, 2006. Amendment to S. 2611, S. Amdt.

4177, 109th Cong. (2006) (amendment of Sen. Chuck Grassley). Specifically, it proposed to amend

§ 6103(l) to allow DHS to obtain certain information from the SSA, upon written request, namely:

       (i) Disclosure of employer no-match notices—Taxpayer identity information of
       each person who has filed an information return required by reason of section 6051
       during calendar year 2006, 2007, or 2008 which contains: (I) more than 100 names
       and taxpayer identifying numbers of employees (within the meaning of such
       section) that did not match the records maintained by the Commissioner of Social
       Security, or (II) more than 10 names of employees (within the meaning of such
       section) with the same taxpayer identifying number.

Id. In remarks on the Senate floor, Senator Grassley explained the considerations that informed

his proposed amendment:

       With respect to information sharing, the amendment contains important language
       regarding the use of tax return information. The protection of taxpayer information
       is a cornerstone of our voluntary tax system. These protections are found in section
       6103 of the tax code and are designed to strike the balance between taxpayer
       privacy and legitimate law enforcement. . . . [W]e have taken a more focused
       approach. We identified the specific information that would be needed to identify
       potentially illegal workers and crafted an amendment to 6103 that permits such use
       while maintaining all of the privacy protections afforded by 6103. Specifically, we
       allow the Social Security Administration to share taxpayer identity information
       with DHS for the next 3 years. The information that can be shared would be for
       those employers who had more than 100 employees with names and numbers that
       do not match, and employers who used the same social security number for more
       than 10 employees. In addition, DHS would be able to request that SSA provide
       information to identify employers who are not participating in the system, and
       employers who are not verifying all of their new employees. This information
       sharing would sunset after 3 years unless Congress extends this authority. We will
       closely monitor the use of this authority to determine if it should be extended.

152 Cong. Rec. S4953 (daily ed. May 23, 2006) (statement of Sen. Chuck Grassley).




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       This amendment also failed to pass the House and become law. However, these failures

demonstrate that Congress understands the data-sharing limitations placed upon information-

sharing by § 6103, including (i)(2). Congress’s failed attempts to pass these exceptions show that

Congress is aware that in order to alter this data-sharing limitation, it is Congress that needs to

pass appropriate legislation to do so. Yet, as of today, no such legislation explicitly mandating IRS-

ICE data sharing has ever been passed. The bottom line is that the Administration can neither usurp

Congress’s role nor twist, beyond recognition, statutory language to do what Congress has not.

       Furthermore, Amici fear that if the Administration is permitted to usurp the role of Congress

in this fashion, all taxpayers with SSNs may become vulnerable to data-sharing under this or future

MOUs, exposing all taxpayers to a profound incursion on their privacy based only on rough

categorizations of individuals through batch inquiries that may or may not yield criminal charges.

The application before this court and such other potential applications to follow are inconsistent

with the intent of Congress, the specificity of Congress’s studied and limited exceptions to § 6103,

and would chill tax compliance even beyond the millions of taxpayers in the ITIN program,

endangering federal revenues more generally. Meanwhile, the costs over time of greatly

diminished public faith in the confidentiality of tax filings and the post-hoc changes in

Administration policies that may substantially impact the privacy and private lives of taxpayers

will likely also prove intolerably high.

       Whatever these costs, they certainly were not ones sanctioned by Congress.

                                           CONCLUSION

       This Court should grant Plaintiffs’ motion for a preliminary injunction.




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April 29, 2025                      Respectfully submitted,

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                                    Counsel for Amici Curiae Members of Congress




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                              CERTIFICATE OF SERVICE
       I hereby certify that on April 29, 2025, I caused a copy of the foregoing Notice of

Appearance to be sent via the Court’s CM/ECF system to counsel of record who have entered an

appearance in this case.

                                                        /s/ Leah M. Nicholls
                                                        Leah M. Nicholls

                                                        Counsel for Amici Curiae
                                                        Members of Congress




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                              CERTIFICATE OF COMPLIANCE

       I hereby certify that this brief complies with all the applicable requirements of LCvR 7(o),

including all formatting requirements set forth in this rule. Specifically, the undersigned certifies

that the brief complies with the applicable page limit set forth in LCvR 7(o) as it contains 19 pages.

       I acknowledge that my brief may be stricken if it fails to comply with any of the applicable

requirements.

                                                              /s/ Leah M. Nicholls
                                                              Leah M. Nicholls

                                                              Counsel for Amici Curiae
                                                              Members of Congress




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                       APPENDIX: LIST OF AMICI CURIAE


1. Gabe Amo                                     13. Joaquin Castro
   Representative of Rhode Island                   Representative of Texas

2. Yassamin Ansari                              14. Sheila Cherfilus-McCormick
   Representative of Arizona                        Representative of Florida

3. Becca Balint                                 15. Judy Chu
   Representative of Vermont                        Representative of California

4. Nanette Barragán                             16. Gilbert R. Cisneros, Jr.
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5. Joyce Beatty                                 17. Yvette Clarke
   Representative of Ohio                           Representative of New York

6. Ami Bera                                     18. Emanuel Cleaver, II
   Representative of California                     Representative of Missouri

7. Suzanne Bonamici                             19. J. Luis Correa
   Representative of Oregon                         Representative of California

8. Julia Brownley                               20. Jim Costa
   Representative of California                     Representative of California

9. Salud O. Carbajal                            21. Joe Courtney
   Representative of California                     Representative of Connecticut

10. Troy Carter                                 22. Jasmine Crockett
    Representative of Louisiana                     Representative of Texas

11. Greg Casar                                  23. Danny K. Davis
    Representative of Texas                         Representative of Illinois

12. Kathy Castor                                24. Madeleine Dean
    Representative of Florida                       Representative of Pennsylvania




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25. Maxine Dexter                                38. Sylvia Garcia
    Representative of Oregon                         Representative of Texas

26. Lloyd Doggett                                39. Jimmy Gomez
    Representative of Texas                          Representative of California

27. Sarah Elfreth                                40. Maggie Goodlander
    Representative of Maryland                       Representative of New Hampshire

28. Veronica Escobar                             41. Al Green
    Representative of Texas                          Representative of Texas

29. Adriano Espaillat                            42. Pablo Jose Hernandez
    Representative of New York                       Representative of Puerto Rico

30. Cleo Fields                                  43. Steven Horsford
    Representative of Louisiana                      Representative of Nevada

31. Lizzie Fletcher                              44. Jared Huffman
    Representative of Texas                          Representative of California

32. Bill Foster                                  45. Glenn F. Ivey
    Representative of Illinois                       Representative of Maryland

33. Laura Friedman                               46. Sara Jacobs
    Representative of California                     Representative of California

34. Maxwell Alejandro Frost                      47. Pramila Jayapal
    Representative of Florida                        Representative of Washington

35. John Garamendi                               48. Henry C. (“Hank”) Johnson, Jr.
    Representative of California                     Representative of Georgia

36. Jesús G. “Chuy” García                       49. Sydney Kamlager-Dove
    Representative of Illinois                       Representative of California

37. Robert Garcia                                50. Robin L. Kelly
    Representative of California                     Representative of Illinois




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51. Ro Khanna                                    64. Kevin Mullin
    Representative of California                     Representative of California

52. Teresa Leger Fernandez                       65. Jerrold Nadler
    Representative of New Mexico                     Representative of New York

53. Mike Levin                                   66. Eleanor Holmes Norton
    Representative of California                     Representative of the District of
                                                     Columbia
54. Sam Liccardo
    Representative of California                 67. Alexandria Ocasio-Cortez
                                                     Representative of New York
55. Ted W. Lieu
    Representative of California                 68.   Ilhan Omar
                                                       Representative of Minnesota
56. Lucy McBath
    Representative of Georgia                    69.   Scott H. Peters
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57. Jennifer L. McClellan
    Representative of Virginia                   70.   Chellie Pingree
                                                       Representative of Maine
58. Betty McCollum
    Representative of Minnesota                  71.   Nellie Pou
                                                       Representative of New Jersey
59. James P. McGovern
    Representative of Massachusetts              72.   Mike Quigley
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61. Gregory W. Meeks
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                                                       Representative of Washington
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    Representative of New Jersey                 75. Jamie Raskin
                                                      Representative of Maryland
63. Dave Min
    Representative of California                 76.   Luz M. Rivas
                                                       Representative of California



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77.   Deborah K. Ross                              90.    Bennie G. Thompson
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78.   Raul Ruiz                                    91.    Dina Titus
      Representative of California                        Representative of Nevada

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80.   Linda T. Sánchez                             93.    Jill Tokuda
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82.   Jan Schakowsky                               95.    Norma J. Torres
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83.   Lateefah Simon                               96.    Ritchie Torres
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84.   Adam Smith                                   97.    Lori Trahan
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85.   Darren Soto                                  98.    Derek T. Tran
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86.   Melanie A. Stansbury                         99.    Juan Vargas
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87.   Greg Stanton                                 100.    Gabe Vasquez
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88.   Mark Takano                                  101.    Nydia M. Velázquez
      Representative of California                         Representative of New York

89.   Shri Thanedar                                102.    Debbie Wasserman Schultz
      Representative of Michigan                           Representative of Florida




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103.   Maxine Waters
       Representative of California

104.   Bonnie Watson Coleman
       Representative of New Jersey

105.   Frederica S. Wilson
       Representative of Florida




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 Centro de Trabajadores Unidos, et al.,

             Plaintiffs,

               v.

 Scott Bessent, in his official capacity as       Civil Action No. 25-677 (DLF)
 Secretary of the Treasury, et al.,

             Defendants.



                                     [PROPOSED] ORDER

        On consideration of the Motion by 105 Members of Congress for leave to file an amicus

curiae brief in support of Plaintiffs’ motion for a preliminary injunction and the entire record

herein, it is hereby:

        ORDERED that the motion is GRANTED. The Clerk of Court is directed to file 105

Members of Congress’s Amicus Curiae Brief in Support of Plaintiffs’ Motion for a Preliminary

Injunction, attached as Exhibit 1, onto the electronic case docket in the above-captioned matter.

        SO ORDERED.

This _______ day of ____________, 2025.

                                                     BY THE COURT:

                                                     _________________________________
                                                     The Honorable Judge Dabney L. Friedrich
                                                     United States District Court Judge
